      Case 2:22-cv-00254-SAB      ECF No. 16   filed 12/07/22   PageID.182 Page 1 of 22




     KSB Litigation, P.S.
 1   Jeffry K. Finer, WSBA # 14610
     510 West Riverside, 3rd Floor
 2   Spokane, WA 99201 509 981-8960
     Email: jfiner@ksblit.legal
 3
     Law Office of Andrew S. Biviano, PLLC
 4   Andrew S. Biviano, WSBA #38086
     25 West Main Avenue, Suite 218
 5   Spokane, WA 99201 (509) 209-2630
     Email: andrewbiviano@me.com
 6
     Disability Rights Washington
 7   David R. Carlson, WSBA # 35767
     901 N. Monroe, Suite 340
 8   Spokane, WA 9921 (206) 324-1521
     Email: davidc@dr-wa.org
 9

10                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
11
     CHRISTOPHER SENN; JASON                    )
12   BEWLEY; JERED FULLEN,                      )    NO. 2:22-cv-254-SAB
     DISABILITY RIGHTS WASHINGTON,              )
13                                              )
     and JEWELS HELPING HANDS,                  )    PLAINTIFFS’ AMENDED
14                                              )    MOTION FOR PRELIMINARY
                    Plaintiffs,                 )    DECLARATORY AND
15                                              )    INJUNCTIVE RELIEF
            vs.                                 )
16                                              )
     CITY OF SPOKANE, a municipal               )
17                                              )
     corporation; SPOKANE COUNTY, a             )
18   municipal corporation; OZZIE               )
     KNEZOVICH, in his official capacity as )
19   Spokane County Sheriff; CRAIG MEIDL, )
     in his official capacity as Spokane Police )
20   Chief;                                     )
                                                )
                            Defendants.
21

22

     PLAINTIFFS’ AMENDED MOTION FOR                                          KSB LITIGATION, P.S.
                                                                      510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                         SPOKANE, WASHINGTON 99201
     RELIEF: 1                                                                PHONE (509) 624-8988
      Case 2:22-cv-00254-SAB      ECF No. 16    filed 12/07/22   PageID.183 Page 2 of 22




 1                                I.     INTRODUCTION

 2
           Plaintiffs wish to close Camp Hope humanely, safely, and legally, which
 3
     takes time. Defendants are seeking to avoid the legal requirements imposed by
 4
     current Circuit caselaw and intend to close Camp Hope regardless of safety or
 5
     humane considerations, and prior to the Court having an opportunity to rule.
 6
           The protections of the United States Constitution apply to all people,
 7
     including the unsheltered homeless who are forced to live in places that
 8
     government officials deem undesirable. Indeed, constitutional protections are
 9
     especially important for the most vulnerable, as these protections often provide the
10
     last bulwark against mistreatment based solely on social status. This case seeks to
11
     ensure that hundreds of Spokane residents who are struggling to find housing, and
12
     hope, do not lose their fundamental rights and dignity due to political opportunism.
13
           Residing in Camp Hope, under an agreement between the landowner and
14
     local service providers pursuant to the State’s Right of Way Initiative, is neither a
15
     crime nor a public nuisance. While some individuals who reside in this location
16
     may commit criminal offenses and be subject to arrest and prosecution for these
17
     offenses, our Constitution forbids guilt by association and collective punishment of
18
     an entire group based on the acts of a few members. Yet this is essentially what
19
     Defendants in this action intend to do..
20
           Since filing this suit, Plaintiffs have engaged with counsel for Defendants to
21
     reach an agreement to delay forcible removal until the Spokane community has
22

     PLAINTIFFS’ AMENDED MOTION FOR                                           KSB LITIGATION, P.S.
                                                                       510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                          SPOKANE, WASHINGTON 99201
     RELIEF: 2                                                                 PHONE (509) 624-8988
      Case 2:22-cv-00254-SAB      ECF No. 16     filed 12/07/22   PageID.184 Page 3 of 22




 1   adequate alternative housing, as required under Ninth Circuit caselaw. These

 2   attempts at resolution have not resulted in progress and in fact have led to further

 3   constitutional violations. After this action was filed, Defendants Knezovich and

 4   Spokane County have initiated searches of the homes of Plaintiffs and other Camp

 5   Hope residents by flying helicopters low over Camp Hope and surveilling residents

 6   inside their homes using advanced infrared imaging. ECF No. 14. These searches

 7   were done without a judicial warrant or lawful authority and were done in apparent

 8   retaliation for Plaintiffs filing the present lawsuit and for other actions taken to

 9   petition their city and county governments for redress of grievances.

10         Then, on December 6th, 2022, dozens of uniformed officers from the City

11   and County of Spokane along with Spokane Valley law enforcement arrived at

12   Camp Hope without notice and handed out leaflets warning residents that the

13   Camp will be closed. https://www.spokesman.com/stories/2022/dec/06/this-camp-

14   is-to-be-closed-confusion-frustration-af/. Defendants are intentionally withholding

15   from residents and the public the date on which they plan to conduct this unlawful
16   sweep, meaning it could happen at any moment. Id. This sweep is planned despite

17   hard objective evidence that Spokane presently cannot provide safe or adequate

18   housing for its homeless, not even for the small subset of homeless who reside at

19   Camp Hope. Id.

20         Plaintiffs therefore have no choice but to seek preliminary declaratory and

21   injunctive relief, enjoining Defendants from clearing all residents from Camp Hope

22   and from continuing to conduct helicopter overflights and infrared imaging

     PLAINTIFFS’ AMENDED MOTION FOR                                            KSB LITIGATION, P.S.
                                                                        510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                           SPOKANE, WASHINGTON 99201
     RELIEF: 3                                                                  PHONE (509) 624-8988
      Case 2:22-cv-00254-SAB        ECF No. 16   filed 12/07/22   PageID.185 Page 4 of 22




 1   searches. Absent Court intervention, the City and County will continue to violate

 2   the constitutional rights of homeless people, particularly those with disabilities.

 3   Plaintiffs easily satisfy the standard for a preliminary injunction. Plaintiffs have

 4   sufficiently demonstrated a likelihood of success on the merits of their

 5   constitutional and legal claims. Plaintiffs will be irreparably harmed by the planned

 6   actions of Defendants. And given the constitutional issues at stake, the balance of

 7   the equities and public interest are best served by a preliminary injunction

 8   preventing the City from doing grave harm to an incredibly vulnerable population.

 9                            II.     STATEMENT OF FACTS

10         Plaintiffs Bewley, Fullen, and Senn live at Camp Hope alongside other

11   residents who are constituents of organizational Plaintiffs Jewels Helping Hands

12   and Disability Rights Washington. Declarations of Bewley; Fullen; Senn; and

13   Garcia. All reside here with the permission of the landowner, Washington State

14   Department of Transportation. Decl. Garcia ¶ 24. At Camp Hope, residents get the

15   supports they need such as food (Decl. Bewley ¶ 6), shelter (Decls. Bewley ¶ 6;
16   Fullen ¶ 2; Senn ¶ 5), employment (Decls. Bewley ¶ 9; Fullen ¶ 2; Senn ¶ 4),

17   healthcare (Decls, Fullen ¶ 3; Senn ¶ 6), privacy (Decls. Fullen ¶ 4; Senn ¶¶ 5,7),

18   stability (Decls. Bewley ¶ 6; Fullen ¶ 4; Senn ¶¶ 5-6), and a community of support

19   (Decls. Fullen ¶¶ 2,4; Senn ¶¶ 6-7). Defendants vow to take all of this away by

20   arresting everyone who refuses to leave Camp Hope when Defendants arrive with

21   their armed law enforcement officers. See, e.g. ECF No 14 ¶¶ 4.16-4.20; Decl.

22   Garcia ¶¶ 13-15. This has led to a great amount of fear in the homeless community.

     PLAINTIFFS’ AMENDED MOTION FOR                                            KSB LITIGATION, P.S.
                                                                        510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                           SPOKANE, WASHINGTON 99201
     RELIEF: 4                                                                  PHONE (509) 624-8988
      Case 2:22-cv-00254-SAB      ECF No. 16     filed 12/07/22   PageID.186 Page 5 of 22




 1   Decl Garcia ¶ 16. The alternatives of solo camping and congregate shelters deprive

 2   all residents the benefit of the fundamental human needs they are currently getting

 3   met at Camp Hope and are looking to get met in more stable housing settings. See,

 4   e.g. Decls. Fullen ¶ 4; Senn ¶¶ 5-7, Garcia ¶¶ 19-22.

 5         If Defendants sweep the camp and force people to leave Camp Hope before

 6   they find stable housing, people with disabilities will be especially harmed due to

 7   their disabilities. One example is “S.H.,” who is 65, uses a wheelchair, and is

 8   unable to use the left side of her body due to a stroke, Decl. Garcia ¶ 20. If forced

 9   to abruptly leave Camp Hope, S.H. will either have to sleep on her own in the

10   streets or go to jail because no shelter will accept S.H. and provide her with the

11   level of assistance in hygiene and personal care tasks she currently receives at

12   Camp Hope. Id. Similarly, “L Senior” and “L Junior” would have to choose

13   between living alone on the streets or in jail, because a shelter would not take and

14   is not a good fit for L Junior’s schizophrenia-related needs for monitoring,

15   redirection, and space from others—needs that his father, who promised L Junior’s
16   mother that he would look after their son following her death earlier this year, are

17   able to get met at Camp Hope. Id. ¶ 21.

18         Another example is C.J., a 68-year-old who uses a walker because she lost

19   her ability to independently use her left leg, and is cared for by her adult son. Id. ¶

20   22. C.J. and her son are limited in which shelters they could even consider, as most

21   are limited to only one gender. Id. ¶ 5. Moreover, C.J. and her son would likely not

22

     PLAINTIFFS’ AMENDED MOTION FOR                                            KSB LITIGATION, P.S.
                                                                        510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                           SPOKANE, WASHINGTON 99201
     RELIEF: 5                                                                  PHONE (509) 624-8988
      Case 2:22-cv-00254-SAB        ECF No. 16    filed 12/07/22   PageID.187 Page 6 of 22




 1   be able to access any shelter because of her support needs stemming from the loss

 2   of control of her left leg. Id. ¶ 22.

 3          An estimated 15% of the residents have disabilities and face the same

 4   problem with shelter inaccessibility even if they wanted to select that option. Id. ¶

 5   23. Barred from residing in any of the shelters, they will be forced onto the street

 6   or into institutions instead of living in the community as they prefer. Id. Many will

 7   be at risk of serious injury or death if forced to live on the streets. Id.

 8          Beyond the fact that shelters do meet many of the needs Camp Hope is

 9   currently meeting for all residents, and the additional needs of disabled residents

10   that cannot be met in shelters, there simply are not enough beds within the shelter

11   system. The entire number of available beds (or mats as the case may be) has

12   never exceeded the number of residents at Camp Hope, nor has it exceeded the

13   number of homeless individuals based on the City’s official “point in time” census.

14   Id. ¶ 6.

15          After the filing of the present lawsuit, the Sheriff’s Department staged
16   helicopter flyovers at the Camp for the next three consecutive nights, circling for

17   15-20 minutes each time, using a spotlight to illuminate the site’s tents and

18   grounds. ECF No. 14, ¶¶ 4.35-37. The helicopter was low enough that campers at

19   the site could feel roto backwash and the noise level from the helicopter was louder

20   than any traffic from the adjacent streets. Id. The third night the helicopter

21   appeared to be using infrared scanning to see into tents, RVs, and the other

22   temporary shelters. Id. On November 22, 2022, Defendant Knezovich held a press

     PLAINTIFFS’ AMENDED MOTION FOR                                              KSB LITIGATION, P.S.
                                                                          510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                             SPOKANE, WASHINGTON 99201
     RELIEF: 6                                                                    PHONE (509) 624-8988
      Case 2:22-cv-00254-SAB      ECF No. 16    filed 12/07/22   PageID.188 Page 7 of 22




 1   conference along with Spokane Mayor Woodward and Spokane County

 2   Commissioner Kuney, in which he acknowledged that the Sheriff’s Office had

 3   conducted these helicopter overflights to observe the camp, that they had used

 4   infrared imaging, and that his office did not first obtain a warrant. See

 5   https://www.youtube.com/watch?v=Ak3h6Tl160s. (Last visited November 27,

 6   2022) at 22:30-58; 32:45-57. Knezovich also referred to the encampment as an

 7   “act of protest” and “unlawful assembly” and repeated his threat that “soon, we

 8   will be posting that camp with a notice that it’s gonna be closed.” Id. 27:45-28:00;

 9   29:40-56.”

10         On December 6, more than a dozen uniformed officers from the Spokane

11   County Sheriff’s Office, as well as the Spokane and Spokane Valley police

12   departments, arrived in force at Camp Hope to deliver flyers to residents stating:

13   “This Camp is to be closed.”https://www.spokesman.com/stories/2022/dec/06/this-

14   camp-is-to-be-closed-confusion-frustration-af/. The flyers and public statements

15   made by Defendants do not provide residents of Camp Hope with a specific date
16   on which Defendants intend to forcibly remove the residents from their current

17   homes. Id. Mark Gregory, public information officer for the Spokane Sheriff’s

18   Office, explained that this was an intentional decision, stating to the media: “We’re

19   never going to say when we’re going to – if we had to – go down and close the

20   camp, because that wouldn’t be smart of us to do.” Id. Mr. Gregory continued:

21   “The camp is going to be closed, but we want to do it without ever using law

22

     PLAINTIFFS’ AMENDED MOTION FOR                                           KSB LITIGATION, P.S.
                                                                       510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                          SPOKANE, WASHINGTON 99201
     RELIEF: 7                                                                 PHONE (509) 624-8988
      Case 2:22-cv-00254-SAB      ECF No. 16     filed 12/07/22   PageID.189 Page 8 of 22




 1   enforcement to move people out of the camp . . . (A sweep) is not our goal, but if

 2   we have to, we will do that.” Id.

 3         Plaintiffs and other residents at Camp Hope thus face imminent and

 4   irreparable harm from a planned law enforcement sweep, with no alternative place

 5   to go, and without consideration of the needs of people with disabilities.

 6                                III.   LEGAL ANALYSIS

 7         A plaintiff seeking preliminary relief under Federal Rule of Civil Procedure

 8   65 must establish “that he is likely to succeed on the merits, that he is likely to

 9   suffer irreparable harm in the absence of preliminary relief, that the balance of

10   equities tips in his favor, and that an injunction is in the public interest.” Winter v.

11   Nat’l Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). The Ninth Circuit applies a

12   “sliding scale” approach to balancing these elements; “a stronger showing of one

13   element may offset a weaker showing of another.” All. for the Wild Rockies v.

14   Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011). Thus, when the likelihood of grave

15   irreparable injury is palpable and the balance of equities tips sharply in plaintiffs’
16   favor, the plaintiffs need only “demonstrate a fair chance of success on the merits

17   or questions serious enough to require litigation.” Arc of Cal. v. Douglas, 757 F.3d

18   975, 993-94 (9th Cir. 2014) (internal quotations and citation omitted). All of the

19   Winter factors weigh in favor of an injunction here.

20      A. Plaintiffs are likely to succeed on the merits of their claims.

21         To show a likelihood of success on the merits, the moving party need not

22   demonstrate that they will prevail, but only that it is “more likely than not” that

     PLAINTIFFS’ AMENDED MOTION FOR                                            KSB LITIGATION, P.S.
                                                                        510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                           SPOKANE, WASHINGTON 99201
     RELIEF: 8                                                                  PHONE (509) 624-8988
      Case 2:22-cv-00254-SAB       ECF No. 16   filed 12/07/22   PageID.190 Page 9 of 22




 1   they will. Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981); Leiva–Perez v.

 2   Holder, 640 F.3d 962, 966 (9th Cir. 2011). Further, Plaintiffs must show likelihood

 3   of success on the merits of only one of their claims. Rodde v. Bonta, 357 F.3d 988,

 4   998 n.13 (9th Cir. 2004). Plaintiffs are more likely than not to succeed on each of

 5   their claims.

 6         1.        Plaintiffs are likely to succeed on their claims under the Fourth
 7                   and Fourteenth Amendment to the U.S. Constitution and under
                     Article 1, Section 7 of the Washington State Constitution.
 8
           Plaintiffs’ rights to be free from unwarranted governmental invasion of their
 9
     liberty and property are clearly established and should be beyond dispute.
10
           The Fourth Amendment to the U.S. Constitution “protects the right of the
11
     people to be secure in their persons, houses, papers and effects, against
12
     unreasonable seizures and searches.” U.S. Const. Amend. IV. “A seizure
13
     conducted without a warrant is per se unreasonable under the Fourth
14
     Amendment—subject only to a few specifically established and well delineated
15
     exceptions.” Miranda v. City of Cornelius, 429 F.3d 858, 862 (2005).
16
           The Washington State Constitution protects this fundamental right even
17
     more plainly, stating: “No person shall be disturbed in his private affairs, or his
18
     home invaded, without authority of law.” Wash. Const. Article I, Section 7.
19
           The Due Process Clause of the Fourteenth Amendment prevents the state
20
     from “depriv[ing] any person of life, liberty, or property, without due process of
21
     law.” U.S. Const. Amend. XIV. Where an individual is deprived of a property
22

     PLAINTIFFS’ AMENDED MOTION FOR                                           KSB LITIGATION, P.S.
                                                                       510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                          SPOKANE, WASHINGTON 99201
     RELIEF: 9                                                                 PHONE (509) 624-8988
     Case 2:22-cv-00254-SAB      ECF No. 16    filed 12/07/22   PageID.191 Page 10 of 22




 1   interest, the Supreme Court has long held that the gravity of a deprivation is

 2   irrelevant to the question of whether account must be taken of the Due Process

 3   Clause. See Goss v. Lopez, 419 U.S. 565, 579 (1975). “[T]o put it as plainly as

 4   possible, the State may not finally destroy a property interest without first giving

 5   the putative owner an opportunity to present his claim of entitlement.” Logan v.

 6   Zimmerman Brush Co., 455 U.S. 422, 433 (1982).

 7         Here, Defendants have announced their intentions to deprive all residents of

 8   Camp Hope of their liberty and property without the authority of law. The

 9   residents of Camp Hope are not committing a crime simply by being present on

10   state-owned property with the support of the State pursuant to the Right of Way

11   Initiative. They do not create a public nuisance simply by living their lives in the

12   small space assigned to them, even if a neighboring resident engages in

13   misconduct. Defendants thus have no legal authority to disturb all residents of

14   Camp Hope in their personal affairs or seize any property by sweeping the camp.

15         It is not surprising, or even unreasonable, for the Camp’s neighbors,
16   community members, and political leaders to be frustrated when a group of

17   unhoused individuals moves into an area knowing that some have committed crime

18   and disturbed the peace. The instinct to respond by forcibly removing or

19   ostracizing the perceived problem group is common and historically human. But

20   acting on this instinct is forbidden by our Constitution, as articulated by the

21   Supreme Court:

22

     PLAINTIFFS’ AMENDED MOTION FOR                                           KSB LITIGATION, P.S.
                                                                       510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                          SPOKANE, WASHINGTON 99201
     RELIEF: 10                                                                PHONE (509) 624-8988
     Case 2:22-cv-00254-SAB       ECF No. 16    filed 12/07/22   PageID.192 Page 11 of 22




           May the State fence in the harmless mentally ill solely to save its
 1         citizens from exposure to those whose ways are different? One might
 2         as well ask if the State, to avoid public unease, could incarcerate all
           who are physically unattractive or socially eccentric. Mere public
 3         intolerance or animosity cannot constitutionally justify the deprivation
           of a person’s physical liberty.
 4
     O'Connor v. Donaldson, 422 U.S. 563, 575–76 (1975)
 5
           Plaintiffs are also likely to prevail on their claims related to the Sheriff’s use
 6
     of helicopter overflights and infrared searches of the homes of Plaintiffs and other
 7
     residents. It is well established that infrared searches of homes require a warrant
 8
     under both the Fourth Amendment and Article 1, Section 7 of the Washington
 9
     Constitution. Kyllo v U.S., 533 U.S. 27 (2001) (The government’s use of a thermal
10
     imaging device to explore details of the home that would previously have been
11
     unknowable without physical intrusion is a “search” and is presumptively
12
     unreasonable without a warrant); State v. Young, 123 Wn.2d 173, 184 (1994) (“The
13
     use of the thermal detection device to perform a warrantless, infrared surveillance
14
     violated the Washington State Constitution's protection of the defendant's private
15
     affairs.”). One does not need to have a traditional home to have this privacy right
16
     against intrusive searches of their living spaces. State v. Pippin, 200 Wash.App.
17
     826 (2017) (holding that law enforcement’s actions in lifting the tarp of an
18
     unhoused person’s lean-to shelter violated Article 1, Section 7 of the Washington
19
     Constitution). Here, the Sheriff has acknowledged that he his office has used
20
     infrared technology that allows him to look inside of private living spaces and did
21
     not have a warrant to do so. Plaintiffs are likely to prevail on this claim.
22

     PLAINTIFFS’ AMENDED MOTION FOR                                            KSB LITIGATION, P.S.
                                                                        510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                           SPOKANE, WASHINGTON 99201
     RELIEF: 11                                                                 PHONE (509) 624-8988
     Case 2:22-cv-00254-SAB      ECF No. 16     filed 12/07/22   PageID.193 Page 12 of 22




 1         Worse, the Sheriff and other Defendants continue to express their intentions

 2   to engage in unconstitutional conduct in the future, to include the sweep and

 3   closure of Camp Hope and conduct more unlawful searches. Plaintiffs are likely to

 4   prevail on their claims under the Fourth and Fourteenth Amendment to the U.S.

 5   Constitution and under Article 1, Section 7 of the Washington State Constitution

 6   and need preliminary injunctive relief to prevent ongoing harm.

 7         2.     Plaintiffs are likely to succeed on their claims under
 8                the Eighth Amendment to the U.S. Constitution.
           The Ninth Circuit has recently issued two rulings prohibiting municipalities
 9
     from arresting or otherwise punishing people for sleeping outside when they have
10
     no access to shelter, pursuant to the Eighth Amendment’s prohibition on cruel and
11
     unusual punishment. In Martin v. Boise, 920 F.3d 584 (9th Cir. 2019), the court
12
     held that “so long as there is a greater number of homeless individuals in [a city]
13
     than the number of available beds [in shelters],” a city cannot punish homeless
14
     individuals for “involuntarily sitting, lying, and sleeping in public.” Id. at 617. That
15
     is, as long as there are insufficient emergency shelter beds available to homeless
16
     individuals, “the government cannot criminalize indigent, homeless people for
17
     sleeping outdoors, on public property, on the false premise they had a choice in the
18
     matter.” Id. (quoting Jones v. City of Los Angeles, 444 F.3d 1118, 1138 (9th Cir.
19
     2006), vacated on other grounds, 505 F.3d 1006 (9th Cir. 2007)).
20
           Recently, the Ninth Circuit extended the rule in Martin to prohibit a
21
     municipality’s issuance of infractions against homeless people where civil and
22

     PLAINTIFFS’ AMENDED MOTION FOR                                           KSB LITIGATION, P.S.
                                                                       510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                          SPOKANE, WASHINGTON 99201
     RELIEF: 12                                                                PHONE (509) 624-8988
     Case 2:22-cv-00254-SAB      ECF No. 16    filed 12/07/22   PageID.194 Page 13 of 22




 1   criminal punishments are closely intertwined and held that class certification can

 2   be appropriate in cases such as this. See Johnson v. Grants Pass, 20-35752, 20-

 3   35881, at *48 (9th Cir. Sep 28, 2022).

 4         Here, Plaintiffs and the residents of Camp Hope have even more

 5   constitutional protection than was found in Martin and Grants Pass, as they are not

 6   sleeping on public sidewalks or parks owned by the City but rather are camped on

 7   land owned by WSDOT, with WSDOT’s support under the Right of Way

 8   Initiative, while WSDOT and private organizations work toward housing all

 9   individuals. In contrast to Martin and Grants Pass, there exist no statutes or

10   ordinances giving Defendants authority to cite, charge, or arrest anyone for living

11   at Camp Hope. Defendants make up for this lack of authority by provocative

12   infrared overflights, unannounced armed delivery of notices of eviction — without

13   any stated deadline or hearing opportunity — actions that impact the stability and

14   peace of the residents legally and temporarily living at the Camp.

15         3.     Plaintiffs are likely to succeed on their claims under the
16                First and Fifth Amendments to the U.S. Constitution

17
           The Supreme Court has declared guilt by association “alien to the traditions
18
     of a free society and the First Amendment itself.” NAACP v Claiborne Hardware,
19
     458 US 886, 932 (1982). Numerous Supreme Court decisions have established that
20
     imposing guilt by association violates both the Fifth Amendment, which requires
21
     that guilt must be personal, and the First Amendment, which guarantees the right
22

     PLAINTIFFS’ AMENDED MOTION FOR                                          KSB LITIGATION, P.S.
                                                                      510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                         SPOKANE, WASHINGTON 99201
     RELIEF: 13                                                               PHONE (509) 624-8988
     Case 2:22-cv-00254-SAB       ECF No. 16     filed 12/07/22   PageID.195 Page 14 of 22




 1   of association. These rules stand even when individuals belong to organizations

 2   that espouse or engage in illegal acts, as they may only be held responsible for the

 3   organization’s acts if they acted with specific intent to further the illegal acts. See,

 4   e.g., United States v Robel, 389 US 258, 262 (1967).

 5         In this case, the public comments made by Defendants make plain that the

 6   primary reason they feel authorized to clear out all residents from Camp Hope is

 7   that the camp has brought increased crime to the area. There is no evidence,

 8   however, that named Plaintiffs or the majority of other residents have engaged in

 9   any criminal activity whatever. There is thus no basis for them to be punished or

10   suffer adverse consequences for the increased crime rates, unless they are assessed

11   guilt based on their association with (or, more accurately, proximity to) other

12   residents who may have committed crimes. This is expressly prohibited under the

13   First and Fifth Amendments.

14         Defendant Knezovich has also recently expressed that he views Camp Hope

15   itself to be an “an act of protest, and sooner or later it becomes an unlawful
16   assembly.” ECF No 14 ¶ 4.39. Defendant Knezovich thus frankly admitted that he

17   views Camp Hope as a form of protest, which implicitly means that those at Camp

18   Hope are engaged in protected speech. That he intends to stifle this protected

19   speech through the removal of all residents makes Plaintiffs very likely to prevail

20   on this First Amendment claim.

21         It should be noted that Defendants have ample tools at their disposal to

22   counter and prevent crime in the area. They are fully capable and authorized to

     PLAINTIFFS’ AMENDED MOTION FOR                                             KSB LITIGATION, P.S.
                                                                         510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                            SPOKANE, WASHINGTON 99201
     RELIEF: 14                                                                  PHONE (509) 624-8988
         Case 2:22-cv-00254-SAB   ECF No. 16    filed 12/07/22   PageID.196 Page 15 of 22




 1   investigate and arrest individuals based on probable cause and can enter the camp

 2   to do so.1 But probable cause must be individualized. Evidence that one or more

 3   individuals residing at Camp Hope have committed crimes does not provide

 4   probable cause to remove or arrest all the people who live in Camp Hope. But this

 5   guilt by association and general distaste for the residents’ impoverished condition

 6   appear to be the only bases for Defendants’ announced intention to evict, arrest,

 7   and seize the property of more than four hundred people.

 8            4.    Plaintiffs are likely to succeed on their claims under the ADA.
 9            There is little question that a sweep of Camp Hope would have
10   disproportionate effects on people with disabilities and would violate Defendants’
11   obligations under the ADA. Many residents of Camp Hope are individuals with
12   disabilities who are receiving critical services and accommodations provided
13   exclusively at Camp Hope. Decl. Garcia ¶¶ 19-23. Their sudden eviction from
14   Camp Hope, with no alternative services in place, would leave them with services
15   and accommodations and in great danger of significant harm or death. Id. This
16   constitutes discrimination on the basis of disability as well as a failure to
17   accommodate, in violation of the ADA.
18            Moreover, the actions proposed by Defendants would violate the integration
19   mandate set forth in Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581 (1999). People
20

21   1
       The Spokane Police Department has made the discretionary choice to not enforce
     the law within Camp Hope, leaving the residents to fend for themselves without
22   police services or assistance. Decl Garcia ¶¶ 25-27.

     PLAINTIFFS’ AMENDED MOTION FOR                                            KSB LITIGATION, P.S.
                                                                        510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                           SPOKANE, WASHINGTON 99201
     RELIEF: 15                                                                 PHONE (509) 624-8988
     Case 2:22-cv-00254-SAB       ECF No. 16    filed 12/07/22   PageID.197 Page 16 of 22




 1   with disabilities currently live at Camp Hope in an integrated community setting of

 2   their own choosing, with a neighborhood, social services, neighbors, and friends

 3   surrounding them. Defendants’ planned action would likely result in them ending

 4   up in jails, hospitals or institutions, or on the streets. Decl Garcia ¶¶ 19-23.

 5   Removing people with disabilities from their community and placing them in large

 6   institutional settings of others’ choosing is discriminatory segregation and a

 7   violation of their civil right to live in the most integrated community setting. It is

 8   thus likely that Plaintiffs would prevail on this claim.

 9      B. Plaintiffs Will Suffer Irreparable Harm Absent Injunctive Relief.
10         Absent the Court’s intervention to enjoin Defendants’ plan to clear Camp
11   Hope, the Named Plaintiffs and all other residents of Camp Hope will suffer
12   irreparable harm. “It is well established that the deprivation of constitutional rights
13   ‘unquestionably constitutes irreparable injury.’ Melendres v.Arpaio, 695 F.3d 990,
14   1002 (9th Cir. 2012) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)); see also
15   Valle del Sol Inc. v. Whiting, 732 F.3d 1006, 1029 (9th Cir. 2013).
16         The Named Plaintiffs in this case have already been subjected to harm
17   resulting from Defendants’ repeated threats of arbitrary deadlines by which they
18   must vacate their current home or face arbitrary arrest and seizure of their property.
19   Decl. Garcia ¶¶ 16-17. This harm is undoubtedly made even worse by mental
20   health conditions such as PTSD and anxiety, which are exacerbated by the stress,
21   uncertainty, and instability caused by Defendants’ pronouncements. Indeed, this
22

     PLAINTIFFS’ AMENDED MOTION FOR                                            KSB LITIGATION, P.S.
                                                                        510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                           SPOKANE, WASHINGTON 99201
     RELIEF: 16                                                                 PHONE (509) 624-8988
     Case 2:22-cv-00254-SAB        ECF No. 16    filed 12/07/22   PageID.198 Page 17 of 22




 1   stress and instability may be the motivating factor behind Defendants’ threats,

 2   driven by the intent to coerce Plaintiffs from leaving Camp Hope. This harm will

 3   only worsen if more threats are made, thus making essential the requested

 4   declaratory and injunctive relief.

 5         The harm that has already been done would be exponentially compounded,

 6   and would be irreparable, if an injunction is not entered and Defendants are

 7   allowed to follow through on their plans to sweep Camp Hope and continue to

 8   conduct unconstitutional searches. This would result in the deprivation of

 9   constitutional rights, possible arrest, the loss of belongings, and the loss of critical

10   services offered at Camp Hope that are critical to residents with disabilities. Given

11   that Defendants have now indicated in writing that the camp will be soon closed,

12   without giving a date, makes “the threat of irreparable harm . . . sufficiently

13   immediate to warrant preliminary injunctive relief.” Boardman v. Pac. Seafood

14   Grp., 822 F.3d 1011, 1023 (9th Cir. 2016) (quoting Winter, 555 U.S. at 22).

15         Disability Rights Washington and Jewels Helping Hands will also suffer
16   irreparable injury if an injunction is not issued. The Ninth Circuit has recognized

17   that an organizational plaintiff’s suffering “ongoing harms to [its] organizational

18   missions” can constitute irreparable harm. Valle del Sol Inc v. Whiting, 732 F.3d

19   1006, 1029 (9th Cir. 2013).

20         Finally, emotional and psychological harm arising from a violation of

21   disability rights law meets the irreparable injury requirement in the context of a

22   preliminary injunction. Chalk v. Orange Cty. Superintendent of Schs., 840 F.2d

     PLAINTIFFS’ AMENDED MOTION FOR                                             KSB LITIGATION, P.S.
                                                                         510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                            SPOKANE, WASHINGTON 99201
     RELIEF: 17                                                                  PHONE (509) 624-8988
     Case 2:22-cv-00254-SAB       ECF No. 16    filed 12/07/22   PageID.199 Page 18 of 22




 1   701, 710 (9th Cir. 1988). Without injunctive relief, Plaintiffs and other residents

 2   with disabilities face the constant possibility that they will be forced out of the

 3   camp and onto the street without necessary treatment and accommodations, or into

 4   institutions that deprive them of community integration, and will continue to suffer

 5   the psychological and emotional harm and loss of rights caused by helicopter

 6   overflights and infrared searches.

 7      C. The Balance of Equities Favors and Public Interest Weigh Heavily in
 8         Plaintiffs’ Favor.
           The third and fourth factors concern the equitable interests at stake in
 9
     granting an injunction: whether the equities favor an injunction, and the impact on
10
     the public interest. Winter, 555 U.S. at 20. The fourth factor primarily considers
11
     the injunction’s impact on non-parties. League of Wilderness Defenders, 752 F.3d
12
     at 766. This includes, for example, non-parties whose rights would otherwise be
13
     subjected to an unconstitutional statute. See Klein v. City of San Clemente, 584
14
     F.3d 1196, 1208 (9th Cir. 2009). Where the government is a party to the litigation
15
     and opposes an injunction, the third and fourth Winter factors merge. See Drakes
16
     Bay Oyster Co. v. Jewell, 747 F3d 1073, 1092 (9th Cir. 2014). And where, as here,
17
     Plaintiffs have shown a strong likelihood of success on the merits and irreparable
18
     harm, “the balance of equities and public interest tip in favor of Plaintiffs.” Los
19
     Padres Forestwatch v. U.S. Forest Service, 776 F.Supp.2d 1042, 1052 (N.D. Cal.
20
     2011). But even without such a strong showing on the first two factors, Plaintiffs
21
     can easily show the third and fourth factors weigh in favor of an injunction.
22

     PLAINTIFFS’ AMENDED MOTION FOR                                            KSB LITIGATION, P.S.
                                                                        510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                           SPOKANE, WASHINGTON 99201
     RELIEF: 18                                                                 PHONE (509) 624-8988
     Case 2:22-cv-00254-SAB       ECF No. 16     filed 12/07/22   PageID.200 Page 19 of 22




 1         First, “the protection of constitutional rights is a strong equitable argument

 2   in favor of issuing the injunction.” Lavan, 797 F. Supp. 2d at 1019-20 (granting an

 3   injunction against the City of Los Angeles, preventing it from seizing and

 4   immediately destroying property in Skid Row). Defendants are bound by the

 5   United States and Washington constitutions. Courts have consistently held that the

 6   public interest is best served by enjoining unconstitutional or unlawful laws and

 7   conduct, stating: “It is always in the public’s interest to enjoin actions that violate

 8   an individual’s constitutional rights, all the more so when this is being done in the

 9   name of their own government.” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir.

10   2012) (upholding a preliminary injunction against a policy of racial profiling); see

11   also Awad v. Ziriax, 670 F.3d 1111, 1131-1132 (10th Cir. 2012); Diamond House

12   of SE Idaho, LLC v. City of Ammon, 381 F.Supp.3d 1262, 1279 (D.Idaho, 2019)

13   (holding that the public interest is served by enjoining the implementation of an

14   ordinance that the court found was facially invalid under the Fair Housing Act,

15   because the FHA serves an important public interest).
16         Second, granting an injunction in this case will protect not just the

17   constitutional rights of named Plaintiffs but also the rights of the hundreds of

18   people who are compelled to live in Camp Hope. As in other cases where courts

19   have granted injunctions against facially invalid ordinances or conduct, “the

20   ongoing enforcement of the potentially unconstitutional regulations ... would

21   infringe not only the [constitutional rights] of [plaintiffs], but also the interests of

22   other people” subjected to the same restrictions. Klein v. City of San Clemente, 584

     PLAINTIFFS’ AMENDED MOTION FOR                                             KSB LITIGATION, P.S.
                                                                         510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                            SPOKANE, WASHINGTON 99201
     RELIEF: 19                                                                  PHONE (509) 624-8988
     Case 2:22-cv-00254-SAB      ECF No. 16    filed 12/07/22   PageID.201 Page 20 of 22




 1   F.3d 1196, 1208 (9th Cir. 2009). Enjoining Defendants from clearing Camp Hope

 2   would stop those violations, which weighs heavily in favor of finding that the

 3   injunction serves the public interest.

 4             IV. THE BOND REQUIREMENT SHOULD BE WAIVED

 5         Where, as here, there is no likelihood of harm to the party enjoined, the

 6   requirement to post a bond may be dispensed with entirely. Barahona-Gomez v.

 7   Reno, 167 F.3d 1228, 1237 (9th Cir. 1999).

 8                                    V. CONCLUSION

 9         For the foregoing reasons, and upon good cause shown, Plaintiffs request the

10   Court grant the following preliminary relief:

11   (a)   A declaratory judgment that Defendants’ announced plans to remove all

12   people and property from Camp Hope violate Plaintiffs’ rights under the United

13   States Constitution and the Americans with Disabilities Act;

14   (b)   A declaratory judgment that Plaintiffs and other current residents of Camp

15   Hope are legally entitled to reside at this location so long as they have the consent
16   and permission of the property owner, WSDOT;

17   (c)   A declaratory judgment that Defendants’ warrantless use of infrared imaging

18   against residents of Camp Hope violates the privacy protections given to all

19   persons under the Washington State Constitution;

20   (d)   A preliminary injunction restraining Defendants from arresting and

21   removing residents of Camp Hope from their current location, or seizing their

22   property, without specific and individualized probable cause to arrest a person for a

     PLAINTIFFS’ AMENDED MOTION FOR                                          KSB LITIGATION, P.S.
                                                                      510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                         SPOKANE, WASHINGTON 99201
     RELIEF: 20                                                               PHONE (509) 624-8988
     Case 2:22-cv-00254-SAB      ECF No. 16    filed 12/07/22   PageID.202 Page 21 of 22




 1   criminal offense unrelated to an order given by Defendants to disband, move, or

 2   otherwise leave Camp Hope;

 3   (e)   A preliminary injunction restraining Defendants from conducting any

 4   helicopter overflights of Camp Hope and/or from utilizing infrared imaging or

 5   similar technology to surveil or record the residents of Camp Hope, without first

 6   obtaining a judicial warrant for such a search.

 7         DATED this 7th day of December, 2022.

 8                                       /s/ Jeffry Finer
 9                                       JEFFRY K. FINER, WSBA NO. 14610
                                         KSB LITIGATION, P.S. (509) 981-8960
10                                       jfiner@ksblit.legal

11                                       LAW OFFICE OF ANDREW S. BIVIANO, PLLC
                                         Andrew S. Biviano, WSBA #38086
12
                                         25 West Main Avenue, Suite 218
13                                       Spokane, WA 99201 (509) 209-2630
                                         Email: andrewbiviano@me.com
14
                                         DISABILITY RIGHTS WASHINGTON
15                                       David R. Carlson, WSBA # 35767
                                         901 N. Monroe, Suite 340
16
                                         Spokane, WA 9921 (206) 324-1521
17                                       Email: davidc@dr-wa.org
                                         Attorneys for Plaintiffs
18

19

20

21

22

     PLAINTIFFS’ AMENDED MOTION FOR                                          KSB LITIGATION, P.S.
                                                                      510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                         SPOKANE, WASHINGTON 99201
     RELIEF: 21                                                               PHONE (509) 624-8988
     Case 2:22-cv-00254-SAB      ECF No. 16    filed 12/07/22   PageID.203 Page 22 of 22




                              CERTIFICATE OF SERVICE
 1

 2
     I hereby certify that I caused a true and correct copy of the foregoing
 3
     PLAINTIFFS’ AMENDED MOTION FOR PRELIMINARY DECLARATORY
 4
     AND INJUNCTIVE RELIEF (plus any exhibits and/or attachments) to be served
 5

 6   via the method listed below to the following:

 7    NAME & ADDRESS                          Method of Delivery
 8    James Bernard King on behalf of         ☒ CM/ECF System
      CITY OF SPOKANE
 9

10
      James Bernard King on behalf of         ☒ CM/ECF System
11    Craig Meidl
12
      F Dayle Andersen, Jr on behalf          ☒ CM/ECF System
13
      of SPOKANE COUNTY
14

15    F Dayle Andersen, Jr on behalf          ☒ CM/ECF System
      of Ozzie Kenezovich
16

17

18
        DATED this 7th day of December 2022.
19

20                                          /s Andrew Biviano

21

22

     PLAINTIFFS’ AMENDED MOTION FOR                                          KSB LITIGATION, P.S.
                                                                      510 W. RIVERSIDE AVE., #300
     PRELIMINARY DECLARATORY AND INJUNCTIVE                         SPOKANE, WASHINGTON 99201
     RELIEF: 22                                                               PHONE (509) 624-8988
